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                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             NORTHERN DIVISION




NATASHA QUIATES, individually
and on behalf of all others similarly
situated,

       Plaintiff
                                                         Case No. 3:24-cv-000114-KGB
v.
                                                         CLASS ACTION
EVOLVE BANK & TRUST

       Defendant




                               NOTICE OF RELATED CASES




       COMES NOW the Plaintiff, Natasha Quiates, individually and on behalf of all

other similarly situated, by and through her counsel, Poynter Law Group, PLLC, and for

her Notice of Related Cases, states:

       1.      Plaintiff Natasha Quiates filed this class-action complaint against Evolve

Bank & Trust on June 28, 2024.

       2.      On the same day, Tracy Starling filed a class-action complaint against

Evolve Bank & Trust. Starling et al. v. Evolve Bank & Trust, Case No. 4:24-cv-00549-JM. The

allegations in the Starling complaint are similar to the allegations in this case.
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       3.        On the same day, Gabriel Stiritz filed a class-action complaint against

Evolve Bank & Trust. Stiritz et al. v. Evolve Bank & Trust, Case No. 4:24-cv-00550-JM. The

allegations in the Stiritz complaint are similar to the allegations in this case.

       4.       Plaintiff was unaware of these same-day filings until after she had already

filed her class-action complaint.

       5.       On July 3, 2024, Joanna Franz and Mark Hingle filed a class-action

complaint against Evolve Bank & Trust. Franz et al. v. Evolve Bank & Trust, Case No. 4:24-

cv-00566-DPM. The allegations in the Franz complaint are similar to the allegations in

this case.

       6.       Of the three cases filed on June 28, 2024, two were assigned to Judge James

Moody, Jr. In the spirit of judicial economy, this case should be reassigned to Judge

Moody. See Gen. Order 39(b)(5).

       7.       This case will likely draw the same motions, raise similar procedural and

substantive issues, and require consideration of the same facts. To promote judicial

economy, one judge should consider these nearly identical cases. Because Judge Moody

was assigned two of the three cases filed on June 28, 2024, Plaintiff requests reassignment

of this case to Judge Moody. Both the parties and the Court would benefit from this

reassignment.


       WHEREFORE, pursuant to General Order 39(b)(5), Plaintiff seeks reassignment of

this case to Judge Moody.




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DATED:      July 10, 2024                 Respectfully submitted,

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                                          *Pro Hac Vice pending




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